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                       UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION


REENA REYNOLDS and
SHALINI SHARMA,

                           Plaintiffs,                No. 1:22-cv-01241

v.                                                    Hon. Sara L. Ellis

SKYLINE REAL ESTATE INVESTMENTS,
PAUL ABETON, FRANCES ABETON, and
EDWARD DECLAN BYRNE,

                           Defendants.


            DEFENDANTS PAUL ABETON, FRANCES ABETON, AND
        EDWARD DECLAN BYRNE’S MEMORANDUM OF LAW IN SUPPORT
          OF MOTION TO DISMISS UNDER RULE 12(B)(2) AND 12(B)(6)
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                                         INTRODUCTION

        Plaintiffs Reena Reynolds and Shalini Sharma assert claims arising out of business

ventures to develop real estate in Ireland, without any meaningful detail or guidance as to how the

ventures were structured, who invested in which venture, what Plaintiffs’ expected returns were,

or what exactly went wrong, if anything. While Plaintiffs appear to allege some arrangement

resembling a partnership, they fail to identify particular details concerning the terms of the

partnership or how, if at all, any terms governing the partnership may have been breached. These

random, unconnected allegations cannot survive a motion to dismiss, particularly considering the

claims asserted.

        In the first paragraph of their Complaint, Plaintiffs allege that the purpose of their lawsuit

is “to recover funds that were illegally misappropriated by the brother and sister team of Frances

Abeton, Edward Declan Byrne and Paul Abeton [collectively, the “Individual Defendants”]” under

some kind of business enterprise related to two real estate development projects. Compl. at 1. But

Plaintiffs assert no cause of action for any alleged violation of any terms governing the enterprise.

Instead, Plaintiffs assert fraud-based claims including securities fraud under the Securities

Exchange Act of 1934, fraud in the inducement, intentional misrepresentation, negligent

misrepresentation, and conversion-by-fraud.

        Dismissal is appropriate because Plaintiffs have failed to state any viable claims. With

respect to Count I, their federal securities fraud claim, Plaintiffs do not allege (1) that they invested

in a security; (2) that Defendants made a material misstatement or omission; (3) scienter; (4) that

any misstatement or omission was made in connection with the purchase or sale of a security; (5)

reliance; or (6) that any alleged misstatements or omissions caused an economic loss. And because

Plaintiffs’ common law claims (Counts II-IV) for fraud in the inducement, intentional


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misrepresentation, and negligent misrepresentation all allegedly arise from the same facts (and

largely share the same elements with the Section 10(b) claim), they too fail. For example, the

Complaint does not allege that Defendants made any false statements, that Plaintiffs relied on such

statements to their detriment, or that they suffered damages as a result. Additionally, Plaintiffs

have failed to allege the existence of any sum of money that Defendants improperly exercised

control over, making dismissal of Plaintiffs’ conversion claim (Count V) appropriate.

                                  FACTUAL ALLEGATIONS

       Plaintiffs assert federal securities fraud and common law fraud claims based on their

apparent dissatisfaction with two real estate projects and Defendants’ alleged lack of

responsiveness to inquiries about these projects. In June 2017, Plaintiff Reynolds partnered with

Defendants Byrne and Ms. Abeton—both of whom were based in Ireland—to start Skyline Real

Estate Investments (“Skyline”), which Plaintiffs describe as either an intended partnership to be

formed under the laws of Ireland or an investment fund focused on developing residential real

estate in Ireland. Compl. ¶¶ 3, 11-12. Plaintiffs allege that Reynolds, Abeton, and Byrne formed

a partnership where each would hold a one-third share in Skyline. Id. ¶ 13. Plaintiffs do not allege

that the parties reduced their alleged partnership agreement to writing, nor do they assert any claim

for breach of any partnership agreement.

       Skyline engaged in several development projects.         For Project 1 (a development in

Bollarney Woods), Reynolds, Ms. Abeton, and Byrne agreed to equal profit-sharing. Id. ¶ 14. For

Project 2 (a development in Delgany), the Complaint alleges that Plaintiff Sharma would be

entitled to 20 percent of the profit, with the remaining 80 percent equally divided among the three

partners. Id. The Complaint alleges generally that Reynolds was responsible for raising U.S.

funding, Ms. Abeton was responsible for commercial activity, and Byrne was responsible for on-


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site management. Id. ¶ 16. Plaintiff Sharma was brought in to assist with Project 2 and raise

money. Id. ¶¶ 76, 82.

       Plaintiffs assert that both projects would be supported by private funding raised by

Reynolds in the U.S. and debt financing raised by Ms. Abeton in Ireland. Id. ¶ 17. The three

agreed to contribute $100,000 each of their own money to the joint venture. Id. ¶¶ 18, 20. There

are no allegations that Plaintiff Sharma contributed any money to the joint venture. Reynolds

purportedly raised additional funds for Project 1. Id. ¶¶ 42-44. The Complaint alleges that

groundbreaking on Project 1 was supposedly delayed for several months, and that Ms. Abeton

made excuses for the delay. Id. ¶¶ 56-57. Plaintiffs concede, however, that Project 1 was

completed and that all investors in the project were paid. Id. ¶¶ 58-62. Plaintiffs assert that Ms.

Abeton retained profits from Project 1 to fund Project 2 and an unknown third project. Id. ¶ 65.

Plaintiffs allege that they have not seen bookkeeping records for Project 1 and that they have

“reason to believe” the finances of the project were never properly documented. Id. ¶ 118.

       For Project 2, Plaintiffs allege that they raised $1.63 million, which was above the initial

target of $1.5 million but below the adjusted target of $1.8 million. Id. ¶¶ 81-82. They allege that

Ms. Abeton claimed that because of the $170,000 shortfall, they could not build as many houses

as they had initially contemplated, and that profits would be reduced as a result. Id. ¶ 83.

Construction on Project 2 began in spring 2019. Id. ¶ 87. Plaintiffs allege that in October 2019,

Ms. Abeton and Byrne, without prior warning, suspended Plaintiffs’ Skyline email accounts. Id.

¶ 104. Since then, Plaintiffs allege that they have not been paid for their investment in Project 2.

Id. ¶¶ 110-16.




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                                       LEGAL STANDARD

       In a Rule 12(b)(6) motion, the Court accepts as true all well-pleaded facts in the complaint

and draws all reasonable inferences from those facts in the plaintiff’s favor. Kubiak v. City of Chi.,

810 F.3d 476, 480–81 (7th Cir. 2016). But the Court is “not bound to accept as true a legal

conclusion couched as a factual allegation.” Bonte v. U.S. Bank, N.A., 624 F.3d 461, 465 (7th Cir.

2010) (internal quotations and citation omitted). And a plaintiff must “provide more than mere

labels and conclusions or a formulaic recitation of the elements of a cause of action.” Bell v. City

of Chi., 835 F.3d 736, 738 (7th Cir. 2016) (internal quotations and citation omitted).

       A heightened pleading standard applies when a complaint alleges fraud, requiring a party

to “state with particularity the circumstances constituting the fraud or mistake.” Fed. R. Civ. P.

9(b). A complaint setting forth fraud claims “must describe the ‘who, what, when, where, and

how’ of the fraud—’the first paragraph of any newspaper story.’” United States ex rel. Presser v.

Acacia Mental Health Clinic, LLC, 836 F.3d 770, 776 (7th Cir. 2016). On top of Rule 9(b)’s

requirements, a plaintiff alleging securities fraud under Section 10(b) must also meet the

heightened pleading standards in the PSLRA. Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551

U.S. 308, 313-14 (2007). Heightened pleading under the PSLRA requires that a plaintiff allege

that the defendant “(A) made an untrue statement of a material fact; or (B) omitted to state a

material fact”; the plaintiff must “specify each statement alleged to have been misleading, the

reason or reasons why the statement is misleading, and, if an allegation regarding the statement or

omission is made on information and belief, the complaint shall state with particularity all facts on

which that belief is formed.” 15 U.S.C. § 78u-4(b)(1). The plaintiff must also “state with

particularity facts giving rise to a strong inference that the defendant acted with the requisite state

of mind.” 15 U.S.C. § 78u-4(b)(2).


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                                          ARGUMENT

I.     Claims against Byrne and Mr. Abeton should be dismissed.

       Plaintiffs have not established that Byrne or Mr. Abeton have contacts with Illinois such

that they are subject to the Court’s jurisdiction. The Due Process Clause allows the exercise of

personal jurisdiction only when the defendant has “minimum contacts” with the jurisdiction,

meaning they have “purposefully availed [themselves] of the privilege of conducting activities in

the forum, invoking the benefits and protections of its laws.” Cent. States, Se. & Sw. Areas Pension

Fund v. Reimer Express World Corp., 230 F.3d 934, 943 (7th Cir. 2000). “The plaintiff bears the

burden of showing that personal jurisdiction over the defendant exists.” Claus v. Mize, 317 F.3d

725, 727 (7th Cir. 2003).

       Plaintiffs do not allege that Byrne and Mr. Abeton have any connection to Illinois. The

Complaint does not assert that they have ever been to Illinois, done business in Illinois, or have

any connection to the jurisdiction. Moreover, the Complaint offers no basis for imputing the

contacts of Ms. Abeton to Byrne or Mr. Abeton. Because Plaintiffs have failed to show personal

jurisdiction over Byrne and Mr. Abeton, they must be dismissed.

       The Complaint is also devoid of allegations giving rise to a cause of action against Byrne

or Mr. Abeton. For example, they are not mentioned as having made any material misstatement

or omission or having an intent to deceive Plaintiffs (or anyone else). For that reason alone, claims

against them must be dismissed. See Collins v. Kibort, 143 F.3d 331, 334 (7th Cir. 1998) (“A

plaintiff cannot state a claim against a defendant by including the defendant’s name in the

caption.”).




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II.     The Complaint should be dismissed under Rule 12(b)(6).

        A.       Plaintiffs fail to state a Section 10(b) claim.

        To state a claim in Count I (Violation of Securities Exchange Act Section 10(b) and Rule

10b-5), Plaintiffs “must allege that Defendants (1) made a false statement or omission; (2) of a

material fact; (3) with scienter; (4) in connection with the purchase or sale of securities; (5) upon

which Plaintiff justifiably relied; and (6) the reliance proximately caused Plaintiff’s damages.”

DH2, Inc. v. Athanassiades, 359 F. Supp. 2d 708, 718 (N.D. Ill. 2005). Plaintiffs fail to state a

Section 10(b) claim for five reasons: first, they have not alleged that they purchased a security;

second, they have not alleged any actionable misstatements or omissions of material fact made in

connection with the purchase or sale of a security; third, they have not alleged an intent to defraud;

fourth, they have not pled reliance; and fifth, they do not allege loss causation.

                 1.      Plaintiffs’ alleged joint venture or partnership is not a security.

        First, Plaintiffs do not allege that their business dealings with Defendants amount to the

purchase of a “security.” Defined by the Supreme Court long ago, the hallmarks of a security are:

“(1) an investment of money; (2) in a common enterprise; (3) with an expectation of profits to be

derived solely from the efforts of others.” SEC v. Battoo, 158 F. Supp. 3d 676, 685 (N.D. Ill. 2016)

(quoting SEC v. W.J. Howey Co., et al., 328 U.S. 293, 298-99 (1946) (concluding an investment

contract is a security where the plaintiffs expected profits that were derived solely from the efforts

of others)). 1




1
  This definition of “security” under the Securities Exchange Act of 1934 is “essentially identical in
meaning” to the definition of that same word under the Securities Act of 1933. SEC v. Edwards, 540 U.S.
389, 393 (2004); see also Landreth Timber Co. v. Landreth, 471 U.S. 681, 686 n.1 (1985) (“We have
repeatedly ruled that the definitions of ‘security’ in . . . the 1934 Act and . . . the 1933 Act are virtually
identical and will be treated as such in our decisions dealing with the scope of the term.”).

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        But Plaintiffs’ own allegations show that they did not purchase a security, because

whatever investment they made was in their own business enterprise over which they had control

and where any profits would be derived based on their own efforts into the enterprise. See, e.g.,

Compl. ¶ 16 (“Each partner had an intended role—Ms. Reynolds was responsible for raising

United States (U.S.) funding and investor relations[.]”); ¶ 17 (“It was contemplated that the

projects would be funded by private funds raised by Ms. Reynolds in the U.S.”) (emphasis added);

¶¶ 76-77 (explaining that Ms. Sharma was brought in to assist with Project 2 and that she “agreed

to partner with Skyline solely based on her trust in Ms. Reynolds”) (emphasis added); ¶ 94 (“Ms.

Reynolds and Ms. Sharma raised $1.63m from U.S. investors.”); see also W.J. Howey, 328 U.S.

at 298-99 (stating that an “investment contract” means “a contract, transaction or scheme whereby

a person invests his money in a common enterprise and is led to expect profits solely from the

efforts of the promoter or third party” (emphasis added)).

        Whatever legal form the parties intended for the business enterprise, it is clearly not the

kind that “leaves virtually no substantive power in the hands of [P]laintiffs.” Cortes v. Gratkowski,

1991 WL 632, at *2 (N.D. Ill. Jan. 3, 1991). Because Plaintiffs’ business venture did not constitute

a purchase of a security, Plaintiffs fail the first prerequisite for securities fraud.

                2.      Plaintiffs plead no material misrepresentation or omission.

        Plaintiffs also fail to plead any specific misrepresentation, let alone meet the PSLRA

requirement of “‘specify[ing] each statement alleged to have been misleading [and] the reason or

reasons why the statement is misleading.’” Tellabs., 551 U.S. at 321 (quoting 15 U.S.C. § 78u-

4(b)(1)). The gist of the Complaint is that Defendants sometimes did not respond to Plaintiffs’

requests for financial information quickly enough for Plaintiffs, or at all. Compl. ¶¶ 23, 66-67, 69,

72, 85, 89, 91, 97, 99, 101, 107, 114. At most, Plaintiffs suggest that Ms. Abeton sometimes


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“provided incorrect information” to them (id. ¶ 91), but nowhere specify what this incorrect

information was, when or where any statements were made, who made them, why the information

was false or misleading, or how or why those communications were material and in connection

with the purchase of a security. That vague assertion cannot even minimally demonstrate a

material misstatement or omission, let alone do so under the heightened standards of Rule 9(b) and

the PSLRA. See Heavy & Gen. Laborers’ Loc. 472 v. Fifth Third Bancorp, 2022 WL 1642221, at

*14 (N.D. Ill. May 24, 2022) (Ellis, J.) (explaining that the PSLRA requires “any complaint

alleging a material misstatement or omission to specify each statement alleged to have been

misleading and the reason or reasons why the statement is misleading.”) (emphasis added)

(internal quotations and citation omitted).

               3.      Plaintiffs fail to plead a strong inference of scienter.

       Plaintiffs also fail to offer any facts showing scienter, let alone particularized facts creating

a “strong inference” of scienter. Tellabs, 551 U.S. at 313. The Complaint alleges only that

“Defendants knew that [unspecified] statements were false and misleading at the time of making

them.” Compl. ¶ 121. This strictly conclusory allegation has no supporting facts that could

possibly meet the high bar required to demonstrate scienter. See Pugh v. Tribune Co., 521 F.3d

686, 694 (7th Cir. 2008) (affirming dismissal of complaint and explaining that the plaintiffs’

allegations regarding the defendant’s knowledge were “wholly conclusory” and insufficient to

draw an inference of scienter); Heavy & Gen. Laborers’ Loc. 482, 2022 WL 1642221 at *20, 24

(dismissing complaint in part for failing to plead intent to deceive and noting that “[t]o meet this

strong inference standard, an inference of scienter must be more than merely plausible or

reasonable—it must be cogent and at least as compelling as any opposing inference of

nonfraudulent intent.”) (internal quotation and citation omitted); In re Sunpower Corp. Sec. Litig.,


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2018 WL 1863055, at *3 (N.D. Cal. Apr. 18, 2018) (explaining that scienter allegations offering

only “generalized support for the notion that” a defendant intended to mislead investors “fall[]

woefully short of giving rise to a ‘strong inference’ of scienter”). Not only have Plaintiffs failed

to plead scienter, but they have also failed to identify how each defendant intended to deceive

investors, as they must. See Pension Tr. Fund for Operating Eng’rs v. Kohl’s Corp., 895 F.3d

933, 936 (7th Cir. 2018); compare with Compl. ¶ 121 (“Defendants knew that [unspecified]

statements were false and misleading at the time of making them”) (emphasis added).

               4.      Plaintiffs do not allege reliance in connection with the purchase of a
                       security.

       Next, Plaintiffs fail to allege reliance on any misrepresentation or omission that Defendants

made in connection with the purchase or sale of a security. With respect to Plaintiff Reynolds, the

Complaint alleges that she gave money to a third party to provide to Skyline, and that each of the

alleged partners agreed to contribute money to the projects (although the Complaint does not

specify which project or how the funds were to be used). Compl. ¶¶ 18, 20. In fact, the Complaint

asserts that Reynolds made this investment because of “the [alleged] agreement of the Partners”—

not because of any statement made by Defendants. Id. ¶ 18. As a result, she has failed to plead

an essential element of her Section 10(b) claim. Gurwara v. Lyphomed, Inc., 739 F. Supp. 1162,

1166 (N.D. Ill. 1990); see also Heavy & Gen. Laborers’ Loc. 482, 2022 WL 1642221, at *19

(explaining that the absence of a “concrete representation[] that might make [a communication]

the kind of substantive statement upon which an investor would rely” forecloses reliance).

       Plaintiff Sharma fares no better: nowhere does the Complaint state that she actually

purchased a security in any entity, much less that she relied on any misrepresentation or omission

about that security. In the absence of any allegation demonstrating actual reliance from either of

the Plaintiffs, Plaintiffs cannot meet the exacting standard that the reliance be “in connection with”

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the purchase of a security. See, e.g., In re Verisign, Inc., Derivative Litigation, 531 F. Supp. 2d

1173, 1209 (N.D. Cal. 2007) (explaining that a securities fraud claim failed the reliance element

where it “d[id] not identify a single [company] officer or director who relied on the supposedly

false or misleading statements in deciding to undertake [a] stock repurchase on [the company’s]

behalf.”). 2

                 5.      Plaintiffs fail to plead loss causation.

        Nor do Plaintiffs plead “that the defendant’s misrepresentation or other fraudulent conduct

proximately caused the plaintiff’s economic loss.” Ong ex rel. Ong v. Sears, Roebuck & Co., 459

F. Supp. 2d 729, 746 (N.D. Ill. 2006) (citing Dura Pharm., Inc. v. Broudo, 544 U.S. 336, 345-46

(2005)). The plaintiff must “provide a defendant with some indication . . . of the causal connection

that the plaintiff has in mind.” Dura Pharm., 544 U.S. at 347. “A plaintiff cannot rely on a mere

allegation that it suffered damages from purchasing securities at a price artificially inflated due to

a defendant’s misrepresentations.” Ong ex rel. Ong, 459 F. Supp. 2d at 747 (citing Dura Pharm.,

544 U.S. at 347).

        Plaintiffs simply allege that “Defendants’ false and misleading statements have caused Ms.

Reynolds, Ms. Sharma, and the U.S. Investors 3 economic loss.” Compl. ¶ 123. This is plainly

insufficient. Indeed, the Supreme Court in Dura affirmed dismissal of a securities fraud complaint

on loss causation grounds where “the complaint nowhere . . . provides the defendants with notice


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  Plaintiffs also do not allege any facts that would support application of the fraud-on-the-market theory of
reliance. See Halliburton Co. v. Erica P. John Fund, Inc., 573 U.S. 258, 267 (2014).
3
  The “U.S. Investors” are not named plaintiffs, nor do Plaintiffs make any allegations as to class
representation, or their adequacy to serve as the same. And Plaintiffs do not have standing to bring claims
for the “U.S. Investors.” A party may only bring a federal lawsuit where they allege an injury in fact—an
invasion of a legally protected interest which is (a) concrete and particularized, and (b) actual or imminent.
Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992). A party “generally must assert his own legal rights
and interests, and cannot rest his claim to relief on the legal rights or interests of third parties.” Warth v.
Seldin, 422 U.S. 490, 499 (1975).
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of . . . what the causal connection might be between [the alleged economic] loss and the

misrepresentation” at issue. Dura Pharm., 544 U.S. at 347. The same is true here: Plaintiffs do

not allege what the causal connection is between any purported misrepresentation or omission by

Defendants and Plaintiffs’ claimed economic loss. Thus, the Court should dismiss Count I for lack

of loss causation in addition to its many other defects above.

       B.      Plaintiffs fail to state a claim for any of their common law claims.

               1.      With respect to Counts II through IV, Plaintiffs have not alleged any
                       false statements, that they relied on any false statements, or that they
                       suffered economic damages.

       Plaintiffs’ common law fraud-based claims fail for many of the same reasons as their

securities fraud claim.   Under Illinois law, claims for fraud in the inducement, intentional

misrepresentation, and negligent misrepresentation all require that a plaintiff demonstrate an injury

that resulted from relying on a defendant’s false statement of fact. See First Midwest Bank, N.A.

v. Stewart Title Guar. Co., 843 N.E.2d 327, 334-35 (Ill. 2006) (explaining that negligent

misrepresentation requires a false statement, reliance, and damages); Powers v. Corn Products

Intern., Inc., 557 F. Supp. 2d 921, 926 (N.D. Ill. 2008) (same for intentional misrepresentation);

Avon Hardware Co. v. Ace Hardware Corp., 998 N.E.2d 1281, 1287-88 (Ill. App. 2013) (same for

fraud in inducement). Plaintiffs’ Complaint fails to allege these key elements, and, for that reason,

Counts II through IV fail even under ordinary pleading standards.

       As discussed in Section II supra, Plaintiffs fail to plead that Defendants made a false

statement or omission of material fact. At most, Plaintiffs allege that Defendants have on multiple

occasions “refused to provide” Plaintiffs with allegedly pertinent information (see, e.g., Compl. ¶¶

47, 63, 85, 98, 102, 113) or that Plaintiffs have been denied access to other unspecified records or

data (see, e.g., Compl. ¶¶ 100, 104). But these are not false statements. See, e.g., Howe v. Shcekin,


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238 F. Supp. 3d 1046, 1052 (N.D. Ill. 2017) (concluding in a similar context that a plaintiff did

not sufficiently plead a false statement by alleging that “[the defendant] never presented or

delivered to [the plaintiff] a prospectus for his investment . . .”). And nowhere in the Complaint

do Plaintiffs allege that Defendants actually made a false or misleading statement. Therefore,

Plaintiffs have failed to plead that any Defendant made a false statement for these three causes of

action.

          Plaintiffs’ common law claims also fail because they do not sufficiently allege reliance on

a material false statement or omission. “[A] court can determine reasonable reliance as a matter

of law when no trier of fact could find that it was reasonable to rely on the alleged statements or

when only one conclusion can be drawn.” H&S Bldg. Inv., LLC v. Irani, 2017 WL 6762434, at *3

(Ill. App. Dec. 29, 2017) (citation omitted). Here, Plaintiffs have not identified any particular

actions they took (or failed to take) in reliance on any alleged false statements, improperly leaving

this Court to speculate as to what their reliance may have been. Under these circumstances,

dismissal is appropriate. Massuda v. Panda Exp., Inc., 759 F.3d 779, 784 (7th Cir. 2014)

(“Massuda never alleged that the Panda defendants intended to induce her to act based on its

statement, nor that she did rely to her detriment. This claim was properly dismissed with

prejudice.”); Azran v. Fid. Nat’l Fin., Inc., 2016 WL 4124286, at *3 (N.D. Ill. Aug. 3, 2016)

(explaining that “plaintiff fails to allege that he relied on any misrepresentation and suffered

damage as a result, which are required elements of a common-law fraud claim under Illinois law,”

and dismissing common law fraud claim).

          Last, Plaintiffs do not allege economic damages stemming from alleged false statements.

Plaintiffs merely assert, without factual support, that their individual reputations have been

damaged. See, e.g., Compl. ¶ 95 (“The damage to both Ms. Reynolds’ and Ms. Sharma’s


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reputations and personal relationships is severe and caused a great deal of embarrassment to both

of them.”); Compl. ¶ 106 (explaining that Ms. Sharma “was trying to avoid reputational damage”).

These vague descriptions fail to adequately plead that Plaintiffs’ reliance on any false statements

caused their losses. See Azran, 2016 WL 4124286, at *3.

       For these reasons, Plaintiffs have failed to allege a claim for fraud in the inducement,

intentional misrepresentation, or negligent misrepresentation.

               2.      The Complaint also does not state a claim for conversion.

       Plaintiffs’ conversion claim in Count V relies on the same defective fraud allegations while

missing the crux of conversion under Illinois law. Plaintiffs assert “[a]s a result of the actions

taken in reliance on Defendants’ false statements and other actions in furtherance of their

fraudulent scheme, Defendants wrongly converted Plaintiffs[’] funds for their own use.” Compl.

¶ 52. But to prevail on a conversion claim under Illinois law, “a plaintiff must establish that (1)

he has a right to the property; (2) he has an absolute and unconditional right to the immediate

possession of the property; (3) he made a demand for possession; and (4) the defendant wrongfully

and without authorization assumed control, dominion, or ownership over the property.” Joe Hand

Promotions, Inc. v. Lynch, 822 F. Supp. 2d 803, 806 (N.D. Ill. 2011) (quotation and citation

omitted). Where a plaintiff alleges conversion of money, “[i]t must be shown that the money

claimed, or its equivalent, at all times belonged to the plaintiff and that the defendant converted it

to his own use.” Horbach v. Kaczmarek, 288 F.3d 969, 978 (7th Cir. 2002) (quotation and citation

omitted) (emphasis in original).

       Plaintiffs’ claim for conversion fails because they do not identify a sum of money that

would constitute convertible property. Where a plaintiff is “not claiming entitlement to a specific

fund or account (let alone specific coins or bills),” they do not state a claim for conversion under


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Illinois law. Horbach, 288 F.3d at 975. Plaintiffs’ prayer for relief does not ask the Court to return

any specific fund―or even any specific amount—to Plaintiffs. Although Plaintiffs allege that Ms.

Reynolds contributed $100,000 to the projects (see Compl. ¶¶ 18, 20), once those funds were

transferred, they no longer belonged to Plaintiffs. Thus, Defendants could not have actually

asserted control or ownership over Plaintiffs’ funds. See Fujifilm N. Am. Corp. v. D/C Exp. &

Domestic Packing, Inc., 339 F. Supp. 3d 790, 801 (N.D. Ill. 2018) (“Plaintiff’s conversion claim

fails as a matter of law because Defendant did not assume control, dominion, or ownership over”

the plaintiff’s property).

        In Horbach, the Seventh Circuit dismissed a claim for conversion, where, as here, the

plaintiff argued that money could be the basis of a conversion claim. In that case, a purchaser

brought a claim for breach of contract and conversion against a manufacturer after the purchaser

made payments to the manufacturer for the completion and storage of equipment. 288 F.3d at 978.

The manufacturer did not complete the items, causing the purchaser to cancel the purchase

order. Id. The court held that the purchaser’s conversion claim failed because the purchaser could

not show that his “right to possession of [the] money was absolute” and could not show that

the “money at all times belonged unconditionally to him.” Id. Specifically, the court explained

that the purchase agreement obligated the purchaser to pay money to the manufacturer and that the

manufacturer’s receipt of the payments was proper and “could not be described as unauthorized or

wrongful in the sense that a claim conversion requires.” Id.; see also Joe Hand Promotions, 822

F. Supp. 2d at 806 (holding that the defendant must have “wrongfully and without authorization”

assumed control or ownership over the property).

        Much like the purchaser in Horbach, Plaintiffs’ conversion claim is premised on amounts

of money (in some cases specified, as in Project 1, and in other instances, undefined) they


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supposedly paid to Defendants as part of the business enterprise. But Plaintiffs’ payments were

based on an agreement between the parties, and Plaintiffs gave up the right to possess the money

they invested when they paid Defendants under that agreement (whatever the terms of it might be).

Thus, like the purchase in Horbach, Plaintiffs cannot show that they had the unconditional right to

possess the investment money at all times before the alleged conversion. As such, Plaintiffs’ claim

for conversion fails.

       To the extent that Plaintiffs’ conversion claim is premised on alleged entitlement to profits

from the business enterprise, it fares no better: there are no allegations that the venture was

profitable, much less that Plaintiffs were entitled to those profits or that Defendants took them.

Without these essential allegations, Plaintiffs’ conversion claim must be dismissed. See, e.g., Avila

v. Citimortgage, Inc., 2013 WL 5477574, at *3 (N.D. Ill. Oct. 2, 2013) (dismissing conversion

claim where plaintiff “d[id] not state the specific dollar amount that was allegedly converted . . .

[and could not] allege that he had an absolute and unconditional right to the money”). Nor is the

allegation that Ms. Abeton and Byrne were “negligent” in their treatment of Plaintiffs, Compl. ¶

97, enough to state a claim, because “an act which is merely negligent is not sufficient to establish

conversion.” Martel Enters. v. City of Chicago, 584 N.E.2d 157, 159-60 (Ill. App. 1991). Thus,

the Court should dismiss this claim.

                                         CONCLUSION

       For these reasons, the Court should dismiss the Complaint with prejudice.




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Dated: July 8, 2022                 Respectfully submitted,

                                    /s/ Vinu G. Joseph

                                    Edward Andrew Southerling (pro hac vice)
                                    Patrick A. Wallace (pro hac vice)
                                    MCGUIREWOODS LLP
                                    888 16th Street NW, Suite 500
                                    Black Lives Matter Plaza
                                    Washington, DC 20006
                                    Tel: 202.857.1772
                                    Email: asoutherling@mcguirewoods.com

                                    Vinu G. Joseph
                                    MCGUIREWOODS LLP
                                    77 West Wacker Drive, Suite 4100
                                    Chicago, IL 60601-1818
                                    Tel: 312.750.3511
                                    Email: vjoseph@mcguirewoods.com

                                    Attorneys for Paul Abeton, Frances Abeton, and
                                    Edward Declan Byrne




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                                CERTIFICATE OF SERVICE

       The undersigned, an attorney, certifies that he caused the foregoing document to be filed

via the Court’s ECF/CM system, on July 8, 2022, which will automatically cause an electronic

copy of the document to be transmitted to all counsel of record.



                                                    /s/ Vinu G. Joseph
                                                    Vinu G. Joseph
